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A 0 245B (Rev 06/05) Sheet 1 - Judgment in a Criminal Case



                                 UNITED STA TES DISTRICT COURT
                                                             MIDDLE DISTRICT OF FLORIDA
                                                                  TAMPA DIVISION



UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE
                                                                      CASE NUMBER:        8:07-cr-99-T-23TBM
                                                                      USM NUMBER:         49349-018
VS.


JORGE ARMANDO LIZARRAGA-CACERES
                                                                      Defendant's Attorney: Daniel Castillo, cja

THE DEFENDANT:

-
X pleaded guilty to counts ONE and TWO of the Indictment.


TITLE & SECTION                                      NATURE OF OFFENSE                           OFFENSE ENDED             COUNT

46 U.S.C. $8 70503(a), 70506(a)                     Conspiracy to Possess With Intent            March 17, 2007            ONE
and (b); and 21 U.S.C. $                            to Distribute 5 Kilograms or More
960(b)(l)(B)(ii)                                    of Cocaine While Aboard a Vessel
                                                    Subject to the Jurisdiction of the
                                                    United States

46 U.S.C. $8 70503(a) and                           Possession With Intent to Distribute         March 17, 2007            TWO
70506(a); 18 U.S.C. 8 2;                            5 Kilograms or more of Cocaine
and 21 U.S.C. § $ 960(b)(l)(B)(ii)                  While Aboard a Vessel Subject to the
                                                    Jurisdiction of the United States

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment
are fully paid.

If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                         Date of Imposition of Sentence: November 15, 2007




                                                                                                                                        I
                                                                                              STEVEN D. hlERRYDAY
                                                                                         UNITED STATES DISTRICT JUDGE

                                                                                         DATE: November      1 59,2,
        Case 8:07-cr-00099-SDM-TBM Document 377 Filed 11/16/07 Page 2 of 6 PageID 1073
A 0 245B (Rev 06/05) Sheet 2 - Imprisonment (Judgment in a Criminal Case)
Defendant:           JORGE ARMAND0 LIZARRAGA-CACERES                                                      Judgment - Page 2 of
Case No. :           8:07-cr-99-T-23TBM

                                                                IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of
ONE HUNDRED EIGHTY-EIGHT (188) MONTHS as to Counts One and Two, both terms to run concurrently.




  X The court makes the following recommendations to the Bureau of Prisons: confinement at a correctional facility in the
state of Arizona or as near to Arizona as possible.



  X The defendant is remanded to the custody of the United States Marshal.
- The defendant shall surrender to the United States Marshal for this district.

          - at - a.m./p.m. on -.
          - as notified by the United States Marshal.

- The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.

          - before 2 p.m. on -.
          - as notified by the United States Marshal.
          - as notified by the Probation or Pretrial Services Office.




                                                                        RETURN

           I have executed this judgment as follows:




           Defendant delivered on                                                 to

- at                                                                              , with a certified copy of this judgment.


                                                                                         United States Marshal

                                                                            By:
                                                                                         Deputy United States Marshal
        Case 8:07-cr-00099-SDM-TBM Document 377 Filed 11/16/07 Page 3 of 6 PageID 1074
A 0 245B (Rev. 06/05) Sheet 3 - Supervised Release (Judgment in a Criminal Case)

Defendant:            JORGE ARMAND0 LIZARRAGA-CACERES                                                             Judgment - Page 3of 6
Case No. :            k07-cr-99-T-23TBM
                                                              SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of SIXTY (60) MONTRS as to Counts
One and Two, both terms to run concurrently.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state, or local crime, and shall not possess a firearm,
ammunition, or destructive device as defined in 18 U.S.C. $ 921.

X
-          The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
           controlled substance. Based on the probation ofticer's determination that additional drug urinalysis is necessary, the Court
           authorizes random drug testing not to exceed 104 tests per year.

X
-          The above drug testing condition is suspended, based on the court's deternlination that the defendant poses a low
           risk of future substance abuse.

X
-          The defendant shall cooperate in the collection of DNA as directed by the probation officer.

If this judgment imposes a fine or restitution it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page,
                                              STANDARD CONDITIONS OF SUPERVISION
        the defendant shall not lcavc the judicial district without the permission of the court or probation officcr:

        the defendant shall report to the probation officcr and shall submit a truthful and coniplete written report within the first five days of each
        month;

        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

        the defendant shall support his or hcr dcpcndents and meet other family responsibilities;

        the defendant shall work regularly at a lawful occupation, unless excused by the probation officcr for schooling, training, or other acceptable
        reasons;

        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
        substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

        the defendant shall not frcqucnt places whcre controlled substances are illegally sold, used, distributed, or administered;

        the defendant shall not associate with any persons engaged in criminal activity and shall not associate wit1 any person convicted of a felony,
        unless granted permission to do so by the probation officer;

        the defendant shall permit a probation officer to visit him or her at any time at home or e l s e w h c ~and
                                                                                                                  ~ shall permit confiscation of any
        contraband observed in plain view of the probation officer;

        the defendant shall notify the probation officer within seventy-two hours of being arrested or qucstioned by a law enforcement officer;

        the defendant shall not enter into any agreenicnt to act as an informer or a special agcnt of a law cnforcenicnt agency without the permission
        of the court; and

        as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
        or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's
        compliance with such notification requirement.
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A 0 235B (Rev. 06/05) Sheet 3C - Supervised Release (Judgment in a Criminal Case)

Defendant:           JORGE ARMAND0 LIZARRAGA-CACERES                                                    Judgment - Page 4 of 6
Case No.:            8:07-cr-99-T-23TBM

                                              SPECIAL CONDITIONS OF SUPERVISION

           The defendant shall also comply with the following additional conditions of supervised release:


-
X          If the defendant is deported, he shall not re-enter the United States without the express permission of the appropriate
           governmental authority, currently the United States Department of Homeland Security.
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A 0 2433 (Rev 06/05) Sleet 5 - Criminal Monetary Penalties (Judgment in a Criminal Case)

Defendant:           JORGE ARMAND0 LIZARRAGA-CACERES                                                           Judgment - Page 5 of 6
Case No. :           8:07-cr-99-T-23TBM

                                                 CRIMINAL MONETARY PENALTIES

           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                Assessment                                 -
                                                                           Fine                         Total Restitution

           Totals:                                                         $ waived                     $


           The determination of restiptipn is deferred until                   . An Amended Judgnzent i12 a Crinzinal Case ( A 0 245C) will be
           entered after such determination.
-          The defendant must make restitution (including community restitution) to the following payees in the amount listed
           below.
           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
           specified otherwise in the priority order or .percentage pa ment column below. However, pursuant to 18 U. S. C. 5
           3664(i), all non-federal victims must be paid before the dnlted States.


Name of Pavee                                        Total Loss*                      Restitution Ordered              Priority or Percentage




                                Totals:               $                              L

 -          Restitution amount ordered pursuant to plea agreement $
 -          The defendant must pay interest on a fine or restitution of more than $2,500, unless the restitution or fine is paid in full
            before the fifteenth day after the date of the judgment, ursuant to 18 U. S .C. 8 36 12(f). All of the payment options on Sheet
            6 may be subject to penalties for delinquency and deiult, pursuant to 18 U.S.C. 8 3612(g).
 -          The court determined that the defendant does not have the ability to pay interest and it is ordered that:
           -          the interest requirement is waived for the - fine                    - restitution.
           -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Cha ters lO9A, 110, 110A, and 113A of Title 18 for the offenses
committed on or after September 13, 1994, but before April 23, 1896.
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A 0 245B (Rev 06/05) Shezt 6 - Schedule of Payments (Judgment in a Criminal Case)

Defendant:           JORGE ARMAND0 LIZARRAGA-CACERES                                                Judgment - Page 6of 6
Case No. :           8:07-cr-99-T-23TBM


                                                          SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.           X        Lump sum payment of $ 200.00 due immediately, balance due
                                 -not later than                           or
                                 -in accordance            - C, - D, - E or - F below; or
B.         -          Payment to begin immediately (may be combined with -C, -D, or -F below); or
C.         -          Payment in equal                 (e. g . , weekly, monthly, quarterly) installments of $              over a
                      period of          (e.g., months or years), to commence                 days (e.g ., 30 or 60 days) after the
                      date of this judgment; or
D.         -          Payment in equal
                      period of
                                                       (e           .k,
                                                            weekly, monthly, quarterly) installments of $
                                            , (e .g., mon s or years) to commence
                                                                                                                       over a
                                                                                                   (e.g . 30 or 60 days) after
                      release from imprisonment to a term of supervision; or
E.         -          Payment during the term of supervised release will commence within                          (e.g., 30 or
                      60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                      the defendant's ability to pay at that time, or
F.         -          Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
 enalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-          Joint and Several
Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate:


-          The defendant shall pay the cost of prosecution.
-          The defendant shall pay the following court cost(s):
-          The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
